                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER

 UNITED STATES OF AMERICA                               )
                                                        )       Case No. 4:08-cr-14
 vs.                                                    )
                                                        )
 TONYA FRANCIS                                          )       MATTICE/LEE

                                  MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on March 24, 2009, in
 accordance with Rule 46(c) of the Federal Rules of Criminal Procedure and 18 U.S.C. §§ 3143 and
 3148 on the Petition for Action on Conditions of Pretrial Release. Those present for the hearing
 included:

                (1) AUSA Perry Piper for the USA.
                (2) The defendant, Tonya Francis.
                (3) Attorney Robert Philyaw for defendant.
                (4) U.S. Probation Officer Janet Landers.
                (5) Courtroom Deputy Kelli Jones.
                (6) Court Reporter Elizabeth Coffey.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

          AUSA Perry Piper called U.S. Probation Officer Janet Landers, who testified that the
 defendant tested positive for drugs at the time of her arrest. Based on the defendant’s continued drug
 use, I conclude the defendant has failed to abide by her conditions of release and that she is therefore
 a danger to the community. Therefore, she must be detained without bond.

        SO ORDERED.

        ENTER.

        Dated: March 24, 2009                   s/William B. Mitchell Carter
                                                UNITED STATES MAGISTRATE JUDGE




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